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AO 91 (Rev. 08/09) Criminal Complaint AY

UNITED STATES DISTRICT COURT é L
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Northern District of Oklahoma S is v2 L)
United States of America ) Ye ee
) CC
, ) Case No. | 8+ M\- 4 F BMY Use
JEREMY BATEY
)
Defendant(s)

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of _ December 31, 2017 in the county of Tulsa in the
Northern District of Oklahoma, the defendant(s) violated:

Code Section Offense Description
Title 18, U.S.C., Section 2422(b) Enticement

This criminal complaint is based on these facts:

See Attached Affidavit by SA Rich Whisman, Federal Bureau of Investigation

@ Continued on the attached sheet.

Complainant’s signature

Rich Whisman, Special Agent

Printed name and title

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Judge's ees f°

City and state: Tulsa, OK Frank H. McCarthy, Magistrate

Printed name and title

Sworn to before me and signed in my presence,

Date: 01/12/2018

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AFFIDAVIT

I, Richard Whisman, being first duly sworn, hereby depose and state as follows:
1. I am a Special Agent with the Federal Bureau of Investigation, and have been for
approximately fifteen years. I am currently assigned to the Tulsa Resident Agency of the
Oklahoma City Division. Prior to becoming a Special Agent with the FBI, I was employed for
about seven years as a Police Officer with the West Chicago, Illinois Police Department. Since
joining the FBI, I have investigated violations of federal law, to include federal violations
concerning child pornography and the sexual exploitation of children. I have gained experience
through training in classes and work related to conducting these types of investigations. Further,
as a federal agent, I am authorized to investigate violations of laws of the United States and to
execute warrants issued under the authority of the United States.
2. As aresult of my training and experience I know that it is a violation of Title 18, United
States Code, Section 2422(b), Enticement and Coercion, for a person using any facility of
interstate commerce, including a cellphone, to knowingly persuade, induce, or coerce an
individual who is under 18 years of age to engage in sexual activity for which any person can be
charged with a criminal offense. It is a violation of state law for an adult to engage in sexual
activity with a child.
3. The statements in this affidavit are based in part on information provided by other law
enforcement officers and on my experience and background as a Special Agent of the FBI. Since
this affidavit is being submitted for the limited purpose of enabling a judicial determination of
whether probable cause exists to issue an arrest warrant for Jeremy Batey (Batey), I have not

included each and every fact known to me concerning this investigation. I have set forth only the
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facts that I believe are necessary to establish probable cause to establish the necessary foundation
for an arrest warrant for Batey for a violation of Title 18, United States Code, Section 2422(b).
4, Based upon information provided to me by officers with the Tulsa Police Department,
including Detective Josh Showman, and the review of various law enforcement reports, I believe
the following to be true and correct.

5. Minor Victim is currently 14 years old. She resides in Pawhuska, which is in the
Northern District of Oklahoma. She has known Batey informally for approximately 2 years.
According to Minor Victim, Batey has engaged in both vague and overt communication of a
sexual nature using SnapChat, an online mobile application. Batey has requested the Minor
Victim to send naked pictures of herself to him.

6. On December 31, 2017, the Minor Victim and Batey were both present at a social
gathering in the Pawhuska, Oklahoma area. Batey was staying at a trailer on the property. During
the course of the gathering Batey used SnapChat to send a message to the Minor Victim in
response to a post made by the Minor Victim regarding her sadness over a recent breakup.
Batey’s message said, “I know how to make you forget him. Sneak out of the house late tonight
and come to my trailer.” The Minor Victim replied she was only 14 and that it would be
inappropriate. Eventually, the Minor Victim’s parents became aware of the exchange and
contacted law enforcement.

7. On approximately, January 09, 2018, after obtaining consent from a parent of the Minor

Victim, Detective Showman began posing as the Minor Victim using the Minor Victim’s
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SnapChat account to communicate with Batey. Batey’s SnapChat account was identified by the
victim as being jeremyb427. Below are some of the messages exchanged between Batey and
Dectective Showman beginning on January 09, 2018, while Showman was in the Northern
District of Oklahoma. In the below messages “JEREMY” refers to Batey and “ME” refers to
Detective Showman, posing as Minor Victim.

“JEREMY: So what are you best suited to doing/ experiencing right now? It's the thing that a man can
give you. And if those feelings aren't tied to a boyfriend but instead to someone with whom you can
learn and experience and feel things with... them you're going to enjoy that much more. And so she isn't
as important as experience, maturity, reliability, sensitivity, respect, secrecy, trust etc.

And so age* not she

Age isn't as important as the experience that a good guy can give you.

At the risk of you saying | am being too inappropriate, | tired the other night to get you to a point where
you could experience some things. But | could not.

| wouldn't ever take anything from you that you didn’t want to freely give.

But | could teach a lot, show you the fin things. And make your butterflies turn into a volcano of
explosive feelings.

And you wouldn't have to deal with bullshit and immaturity.

ME: [blushing smiling face emoji] Sorry about that | was surprised | guess.

JEREMY: One sec...

Yeah it was abrupt but one thing I've learned in life is you have to make the most of opportunity when it
comes. We were there at the same time. No parentals. But | pushed too much.

What's the farthest you've gone with a guy?

Or may | ask? No judgement here. Just wonder what you've been able to experience

ME: Ahhh um. Ur not going to tell ne1?

JEREMY: One of the benefits of someone like me is that | never reveal the intimate secrets of those I'm
with. It's a gift that you entrist that | never spoil.

Not that I'm with you but in this case...

No | would never repeat anything you and discuss or do. For many obvious reasons!

Lol

ME: Soooo I've been nake with a guy but we didn't like hookup all tha way [cringe face moji]. Then he all
but ghosted on me
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JEREMY: That's what Young guys do
ME: No joke.

JEREMY: But that's why | asked what do you really want? | mean do you want to know what it feels like
just to kiss or do you want to feel a man's desire and fell him wanting you and his hands on your body.
Because if you’re wanting more intense physical experiences without losing your virginity, which
obviously is absolutely critical, then you can't mess with these young guys. They're gonna fuck it all up.
And the first second you get on that halfway knows what he's doing and can talk a good game, he's
gonna wind up taking your virginity and then ghosting you.

Place me in this example. I've had an eye for you the moment ! first saw you. | can see the the mischief
in your eyes. The twinkle that says you want to explore. And I've noticed your budding body and the way
you want to use it to catch a man's eye.

I've seen you showing off budding young breasts swelling out about your tank top and your tight jeans
and shorts and such things. I've always had an intense desire for you and the way you're wanting to live
life.

In my case, because we are so different, in age, there's an especially intense excitement at the forbidden
nature of it. Where some boy would just get what he wants and ditch you, |! would rather preserve your
deepest treasure and yet experience you and also teach you and show you how wonderful it can feel. By
ways that honestly wouldn't even require me taking my clothes off.

But the question is, is this something you'd desire? And could you trust that | would honor that? So of
course it's a risk. But there would be no ghosting. More so than anything I'd be eagerly trying to figure
out how we could once again get together to experience more.

And tell ya something else. | haven't had very many partners in life, but the best one | ever had told me
that when she was very you, a much older man taught her everything that she knew. She credited that
‘forbidden’ relationship with her enjoying so much.

You're too young to be getting ditched so much. Time you did things for you and found some real
personal enjoyment with the opposite sex. Just my opinion.

Sorry so long winded.

ME: No one has ever been so straight with me b4.

JEREMY: Welcome to mature men
| don't fuck around. You always know exactly what I'm thinking / feeling. Why play stupid games?

ME: what would u want 2 do if we could make it happen?

JEREMY: to be straight it would drive me wild to be able to even just kiss you and touch you because
you're so young and beautiful. And it's so excitingly 'bad' and you're so much damn wild fun. So if that's
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all it ever was...so be it. | would want to do everything that you were comfortable doing. Which would
probably take some considerable time just so you would be comfortable being so intimate with me.

| would like to figure out some way to first take you out and just enjoy you as the young fun girl you are,
even if people thing !'m just 'dad' hanging out. But if you wanted to experience the things that a mature
man could teach you, then there's especially on thing that you need to experience.

if nothing else, just this one thing.

ME: What's the thing?

JEREMY: You need to experience the pleasure of a man that truly knows what he's doing... going down
on you. The sensation of a warm tongue against your burning sex.

That's what you need to feel.

And there are only a few things in life that | know | am great at, and this one... | will probably be the best
you'll ever experience.

The boys... they don't know shit yet about how to pleasure a woman. | do

It even helps you learn how to enjoy yourself better.

Can't even tell you how many times | have been told, omg that's my first orgasm. I've never felt anything
like that.

She's...quiet

Too inappropriate?

ME: | want that. Maybe more. Sorry I've never talked about this stuff really. Like people joke but I've
never had a guy put himself out there ya know. It's bad but | like it [heart eyes emoji]

JEREMY: I've always tried to be careful with you. Why it's bad is also why it's dangerous obviously.
You're a huge risk to trust. But there's so much | could tell you. Say to you. Teach you. It's really just a
matter of when YOU were ready to hear it.

I've always paid attention to your life and your emotions and distress and | know you've had them
ditching you left and right.

I think when you're ready, you will come to me.

And maybe you never will and that's fine, but | can sense that you're wanting to feel more. Experience
more. Than what you've been offered from these immature little pricks

There's so much that ! could show you. You told me once you wanted to feel what sex was like without
actually losing your virginity. There's a very taboo way to do that which will probably scare the hell outta
you.

But if you take time and are brought along slowly by the right guy, it can be a mind blowing experience
too.

Sooo much | could show you.

ME: U mean like anal?
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JEREMY: Yes miss
ME: ohhh. Do u think I'd like it?

JEREMY: | knew a girl in college that was saving her virginity for her husband. In exchange, she enjoyed
anal sex because she still go to fell like that full experience of a man driving himself inside her. | never
dated her but... she loved it.

Hard to say. It doesn't start the first time. It starts with little things.

It would start with me having first given you an orgasm with my tongue. Relaxing you. Then flipping your
tiny young body over and descending upon that fucking exquisite little ass of yours with my lips and
kissing and suckling at that warm smooth flesh.

Eventually you'd fell the sensation of my tongue slipping down inside and tasting you in that innermost
secret spot.

Might make you uncomfortable at first. But you'll likely come to love the feeling.

| personally thoroughly enjoy it. It arouses me tremendously to perform analingus. It's so BAD and dirty
which makes it that much more hot.

After hours or even days of enjoying my teasing your tight little anus, we might progress to other things,
like a small finger.

As you grew accustomed to it and if you liked it, then you go on from there. It's all about experiencing.
Finding out what it’s like

Millions of gays can't be wrong though. Haha

ME: lol

JEREMY: The anus has more nerve receptors than even your sex, so it's extremely sensitive and
pleasurable if you can get your mind over it.

1] even enjoy toying with mine in masturbation or with someone. Feels amazing.

All things you could learn with a trustworthy, careful partner.

Some kid would just try and ram it in and take it and then bam, you'd hate it for life.

Everything sexual for a beautiful young girl is about going slow and taking time to bring your body up to .
full arousal so it's all pleasure to overcome any discomfort. Boys just don't give a shit about that and
aren't patient enough.

But to the original point...all truly sensuous young women eventually desire to have that sensation of
being penetrated and pierced by a throbbing hard cock. It's just in your nature. So if you’re saving your v
card. That's the other way.

There's nothing quite like getting absolutely animalistic and going wild and just hardcore fucking each
other. Once you realize your body can take it, it's amazing.

I'm talking way too much again.

ME: is my v card worth saving? I'm mostly worried about getting pregnant.
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JEREMY: | can't answer that question for you. That's an internal question. It would be... selfish of me to
answer that But | will tell you another benefit to me is that I'm clipped. So there's no danger of that.
Ever.

And yeah. Pregnant teen is NO BUENO

In this day and age people don't value virginity like they used to. To me | would say it's an incredible gift
that any man that earns it should cherish the rest of his life. And he likely would because you never
forget it.

But this is something you have to decide for you. | kept mine until | was 18 and then screwed up.

| could say no it's not worth saving so let me have it. That's bullshit. And that's what the boys will push
for. They'll tell you how they love you, just to punch the card. It's horse shit.

Don’t ever be pressured to give it up. Let it forever be your choice. And then when you're ready you'll
say, | give this to you. And hopefully whoever the lucky bastard is, he will be decent enough to lead you
along gently and with skill and experience to make it the memory of a lifetime.”

8. Detective Showman contacted SnapChat to request the preservations of records for the
SnapChat account jeremyb427. SnapChat confirmed that the account jeremyb427 is associated with
phone number 918-724-0764, which is known to belong to Batey. During a SnapChat conversation
between Batey and Detective Showman, posing as the victim, on 01/10/2018, Batey sent a selfie type
picture to Detective Showman. During a search warrant executed on Batey’s residence on 01/12/2018,
law enforcement recognized the photo sent to Detective Showman was taken in Batey’s home. The
clothes worn by Batey in the photo were also found in the residence. Batey’s girlfriend was interviewed
on 01/12/2018 who confirmed that Batey was home during the time the selfie picture was sent to
Detective Showman. During post Miranda contact with Batey and law enforcement on 01/12/2018,
Batey stated, “I know [MINOR VICTIM] and this is serious”. The Minor Victim’s father has expressed

concern for his daughter’s safety because of this incident and Batey’s knowledge of where she lives.
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9. Based on the foregoing, | believe there is probable cause that Jeremy Batey is in

violation of Title 18, United States Code, Section 2422(b).

Richard Whisman
Special Agent
Federal Bureau of Investigation

Subscribed and sworn to before me
on January 12, 2018:

PY LAM cb
UNITED STATES MAGISTRA JUDGE

